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Sn the Anited States Court of Federal Claims

 

 

 

 

 

Defendants )
Eric Jorgenson )
AlicaJorgenson
Plaintiff(s), Case No. 2022-04491 further pertaining to
v. Judge CHARISSA J. LILLER
THE UNITED STATES,
)
MIDFIRst BAvK _ )
KML LAW GRovP, DC.
COMPLAINT

Your complaint must be clearly handwritten or typewritten, and you must sign and declare under

penalty of perjury that the facts are correct. If you need additional space, you may use another blank

page. A fillable pdf is available at http://uscfc.uscourts.gov/filing-a-complaint.

If you intend to proceed without the prepayment of filing fees (én forma pauperis (IFP)), pursuant to 28

U.S.C. § 1915, you must file along with your complaint an application to proceed IFP.

1. JURISDICTION. State the grounds for filing this case in the United States Court of Federal
Claims. The United States Court of Federal Claims has limited jurisdiction (see e.g., 28 U.S.C.

§§ 1491-1509).

 

The Court of Common Pleas has not addressed numerous filings showing evidence of
fraud committed against me and my family.

The injuries and the damages that have been perpetrated against me and my family
are compounding daily because of their actions and inactions.

VLA,

 

    

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2. PARTIES

Plaintiff, Eric Jorgenson

Yardley, PA 19067
(City, State, ZIP Code)

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, resides at41 walnut lane
(Street Address)

609 356-9187
(Telephone Number)

If more than one plaintiff, provide the same information for each plaintiff below.

Alica Jorgenson ,41 walnut lane Yardley, PA 19067, 2177350367

 

 

3. PREVIOUS LAWSUITS. Have you begun other lawsuits in the United States Court of Federal

 

 

Claims?

Yes No

 

 

 

If yes, please list cases:

4. STATEMENT OF THE CLAIM. State as briefly as possible the facts of your case. Describe
how the United States is involved. You must state exactly what the United States did, or failed

to do, that has caused you to initiate this legal action. Be as specific as possible and use

additional paper as necessary.

-|am submitting together with this complaint several exhibits to demonstrate the injuries and damages perpetrated against me and my family which are compounding daily.

‘These Injuries and Damages include but are not limited to the following;

‘Evidence of Fraud in the Construct of the Contract which was not complete

‘Not addressing evidence of fraud presented to the court tribunal and incomplete documentation in the original documents and subsequent transfers

‘Evidence of an Illegal and criminal sale of our property

‘In the interest of time this is abbreviated-all filings are on the propublic website

.Exhibit A:

.KML Michael McKeever, Items 51 and 52 from the propublic link sent

51 7/8/2022 3:09:37 PM REAL ESTATE SOLD TO PLAINTIFF FOR COSTS IN THE SUM OF $1,189.18 No 13146729
Select 52 7/11/2022 10:36:31 AM SHERIFF'S REFUND MADE TO KML LAW GROUP, P.C., CHECK # 100516, IN THE SUM OF $787.04. SOLD FOR COST ON JULY 8,

‘2022. (ADVANCE REFUNDED - RECEIPT # 2022-1-02955). No 13147275

‘Exhibit B:

lect 51 7/8/2022 3:09:37 PM REAL ESTATE SOLD TO PLAINTIFF FOR COSTS IN THE SUM OF $1,189.18
‘THe above is directly from the propublic site showing full history of foreclosure/sale. It is item 51 on this site;

‘https://propublic.buckscountyonline.org/PSI/v/detail/Case/6143305

‘There isn't more detail except that we know that KML law group's Michael McKeever was the attorney for the plaintiff. Item 52;

‘Exhibits C through H are integral to this case and are to be sent under a separate submission to follow when fully prepared

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5. RELIEF. Briefly state exactly what you want the court to do for you.

Temporary Injunction from taking any further action until this case is adjudicated

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Signed this 2nd day of February , 2023
(day) (month) (year)

gn ff pen

Signature of Plaintiff(s)

 

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